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                              UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA


 BUCKEYE TREE LODGE AND
 SEQUOIA VILLAGE INN, LLC, et al.,                 16-cv-04721-VC

                Plaintiff,
                                                   JUDGMENT
         v.

 EXPEDIA, INC., et al.,
                Defendant.


       The Court, having granted approval of the class-action settlement, now enters judgment
in accordance with the order at Dkt. No. 251. The Clerk of Court is directed to close the case.
       IT IS SO ORDERED.

Dated: April 9, 2021

                                                ______________________________________
                                                VINCE CHHABRIA
                                                United States District Judge
